UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          -X
PATRICIA HUNTER
Plaintiff,
                                                            Case No.: 1:16-cv-08779-ER
               -against-

 PALISADES ACQUISITION XVI, LLC
 SHARINN & LIPSHIE, P.C.
 HARVEY SHARINN

                                Defendants.
                                                           -X

              AGREED ORDER OF DISMISSAL AS TO ALL DEFENDANTS

Plaintiff, PATRICIA HUNTER, hereby voluntarily dismisses this action against Defendants

PALISADES ACQUISITION XVI, LLC, SHARINN & LIPSHIE, P.C., AND HARVEY

SHARINN, with prejudice, and without costs, disbursements, or attorney's fees to either party as

against the other pursuant to Fed.R.Civ.P. Rule 41(a)(2).

       The Court retains jurisdiction to enforce the terms of the settlement between said parties.

An executed faxed or scanned copy of this Agreed Order shall be deemed as a signed original.




SO ORDERED this                     day of                       , 2019.
                                             The Court having been advised that all claims asserted herein have been
                                             settled, it is ORDERED, that the above-entitled action be and hereby is
                                             DISMISSED with prejudice. Further, the parties are advised that if they wish
                                             the Court to retain jurisdiction in this matter for purposes of enforcing any
Edgardo Ramos
                                             settlement agreement, they must submit the settlement agreement to the
United States District Judge
           7/25/2019                         Court within the next seven (7) days with a request that the agreement be "so
                                             ordered" by the Court. It is SO ORDERED.




                                                                 7/25/2019



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Ahmad Keshavarz, Esq.               Brett A. Scher, Esq.
The Law Office of Ahmad Keshavarz   Kaufman Dolowich & Voluck LLP
One of Plaintiff's Attorneys        Attorneys for Defendants




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